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                   UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT

                         CERTIFICATE OF INTEREST

Case Number:               23-2323

Short Case Caption:        Swarm Technology LLC v. Amazon.com, Inc.

Filing Party/Entity:       Amazon.com, Inc. and Amazon Web Services, Inc.,
                           Appellees

I certify the following information and any attached sheets are accurate and complete
to the best of my knowledge.

 Date: September 7, 2023        Signature:     /s/ Adam M. Greenfield
                                Name:          Adam M. Greenfield


1.    Represented Entities. Provide the full names of all entities represented by
      undersigned counsel in this case. Fed. Cir. R. 47.4(a)(1).

      Amazon.com, Inc. and Amazon Web Services, Inc.

2.    Real Party in Interest. Provide the full names of all real parties in interest
      for the entities. Do not list the real parties if they are the same as the entities.
      Fed. Cir. R. 47.4(a)(2).

      None.

3.    Parent Corporations and Stockholders. Provide the full names of all parent
      corporations for the entities and all publicly held companies that own 10% or
      more stock in the entities. Fed. Cir. R. 47.4(a)(3).

      Amazon Web Services, Inc. is a wholly-owned subsidiary of Amazon.com,
      Inc.

      Amazon.com, Inc. is a publicly held corporation and has no parent
      corporation, and no publicly held corporation owns 10% or more of its stock.
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4.   Legal Representatives. List all law firms, partners, and associates that
     (a) appeared for the entities in the originating court or agency or (b) are
     expected to appear in this court for the entities. Do not include those who
     have already entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

     None/Not Applicable.

5.   Related Cases. Other than the originating case(s) for this case, are there
     related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

     Yes.

     If yes, concurrently file a separate Notice of Related Case Information that
     complies with Fed. Cir. R. 47.5(b). Please do not duplicate information. This
     separate Notice must only be filed with the first Certificate of Interest or,
     subsequently, if information changes during the pendency of the appeal. Fed.
     Cir. R. 47.5(b).

6.   Organizational Victims and Bankruptcy Cases. Provide any information
     required under Fed. R. App. P. 26.1(b) (organizational victims in criminal
     cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
     47.4(a)(6).

     None/Not Applicable.




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